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     1   XINGFEI LUO
     2   PO BOX 4886,
                                                                    04/14/2023
     3   El Monte, CA 91734
     4

     5   Petitioner in Pro Se
     6

     7

     8                             UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
    10

    11   XINGFEI LUO,                                No. 8:22-CV-01640-MEMF-KES
    12                      Petitioner,
    13          v.                                   RENEWED MOTION FOR COURT
    14                                               APPOINTED COUNSEL
         THE PEOPLE OF THE STATE OF
    15   CALIFORNIA

    16                      Respondent.

    17

    18

    19          TO THE COURT AND TO RESPONDENT AND ITS COUNSEL OF RECORD:
    20          Xingfei Luo (Petitioner) respectfully submits the following renewed motion for
    21   court appointed counsel:
    22               I.   PROCEDURAL HISTORY
    23          On September 6, 2022 Petitioner moved for appointment of counsel (ECF 7) while
    24   filing her Petition for Writ of Habeas Corpus (ECF 1).

    25          On December 20, 2022 the Court denied Petitioner’s initial motion for court
    26   appointed counsel without prejudice. ECF 18.
    27           II.      FACTUAL BACKGROUND
    28          After marrying a woman (Hanh Le) who is ten years older than him, Tomas
                                                     1
                                RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1   Czodor (Czodor), concealed his marriage and tried to meet young women online. ECF 4,
     2   pp. 97-98. Before knowing Petitioner’s name and meeting Petitioner in person, in August
     3   2018, Czodor proudly told Petitioner that he was raised as a nudist. Right after meeting
     4   Petitioner just once, while Petitioner still did not tell him her name, Czodor unsolicitedly
     5   sent Petitioner his nude photos and invited Petition to a nudist ranch. ECF 6, p. 153. After
     6   two gatherings, Czodor ghosted Petitioner. Petitioner, unaware of Czodor’s marriage,
     7   went to Czodor’s residence for answer on September 18, 2018. ECF 6, p. 155.
     8          On the night the vandalism is said to have been committed, despite the light in
     9   front of Czodor’s door was brightly lit (ECF 6, p. 159), and despite Czodor allegedly told
    10   Petitioner to stop scratching his door, the 911 call record shows no mention of any
    11   scratching or property damage. Compare ECF 6, p. 155 and ECF 6, p. 201. Nevertheless,
    12   Czodor testified that he did not and could not discover his front door was damaged on
    13   September 18, 2018 because it was dark. ECF 6, p. 171.
    14          Despite the photo, taken and provided by Czodor, shows little to no damages (ECF
    15   6, p. 175), Czodor attested, under the penalty of perjury, that Petitioner scratched his
    16   front door for 20 minutes and did not stop after he told her to. Luo Decl., ¶ 2. If
    17   Czodor were able to tell Petitioner to stop scratching his door on the spot, he could have
    18   been able to tell the 911 operator that Petitioner scratched his door. If Czodor were able to
    19   tell Petitioner to stop scratching his door on the spot, he could have been able to discover
    20   his door was damaged right away on the same night. If Czodor were able to tell Petitioner
    21   to stop scratching his door on the spot, he could have been able to snap a photo of
    22   Petitioner standing next to his damaged door. If Czodor were able to tell Petitioner to stop
    23   scratching his door on the spot, he wouldn’t have committed perjury falsely alleging that
    24   he did not and could not discover the damage on September 18, 2018 because it was dark.
    25          On September 26, 2018, eight days after Petitioner left Czodor’s residence, Czodor
    26   reported the alleged vandalism and distribution of his nude photos. ECF 6, pp. 177-178.
    27   Despite during the entire time on September 18, 2023 when Petitioner was in front of
    28   Czodor’s residence, Czodor had free access to his phone, making 911 call (ECF 6, p. 201),
                                                       2
                              RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1   taking photos and shooting videos (ECF 6, pp. 159-163), no photos or videos show that
     2   Petitioner was actually scratching Czodor’s door, no photos or videos of Petitioner with
     3   Czodor’s damaged door were provided, no photos or videos show that Petitioner was
     4   standing next to Czodor’s damaged door, despite Petitioner allegedly scratched Czodor’s
     5   door for 20 minutes. Luo Decl., ¶ 2.
     6         On September 10, 2018, after Petitioner allegedly threatened Czodor to distribute
     7   his nude photos, Czodor in fact made contact with the police but made no mention of
     8   Petitioner or any nude photos. ECF 6, p. 200. Despite all communication between
     9   Petitioner and Czodor was made through text messages, not a single message shows that
    10   Petitioner asked for Czodor’s nude photos, not a single message shows that Czodor
    11   requested Petitioner to keep his nude photos private, not a single message shows that
    12   Petitioner made any promise to keep his nude photos private before Czodor unsolicitedly
    13   sent Petitioner his nude photos. Nevertheless, Czodor – a married man deliberately
    14   concealing his marriage – sent his nude photos to Petitioner, a woman who never told him
    15   her name and met him just once, a woman who was not better than a stranger.
    16         No officers ever saw Czodor’s damaged door or nude photos online. No officers
    17   ever took any photos of the damaged property. No officers ever checked or examined
    18   Czodor’s phone to see whether Czodor provided accurate and all relevant messages,
    19   photos and videos. No officers ever checked or examined Czodor’s phone to see whether
    20   Czodor sent his nude photos to multiple people. No officers ever verified whether
    21   Czodor’s story was taken out of context. No officers ever interviewed any of Czodor’s
    22   friends, customers, or wife. No officers ever indeed went out and collect evidence. No
    23   officers ever performed any meaningful investigation. Anything coming out from
    24   Czodor’s mouth was taken as true at face value. All “evidence” was in fact produced and
    25   provided by Czodor himself, in the form of a stack of paper, despite modern technology
    26   was readily available in 2018 and 2019 to the police. In effect, Czodor played the dual
    27   roles both as a police officer and complaining witness.
    28         Six attorneys from the office of public defender cycled through Petitioner’s case,
                                                      3
                             RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1   none of them did any investigation, none of them ever explained to Petitioner about her
     2   constitutional rights, none of them ever tried to bring the case to trial at a meaningful time
     3   and in a meaningful manner, none of them ever meaningfully discussed the case or
     4   strategy with Petitioner, none of them asked for Petitioner’s consent or authority to sign a
     5   stipulation with prosecution, none of them was able to expose Czodor’s perjury and fraud,
     6   none of them ever tried to attack the integrity of police work. Petitioner was astonished at
     7   trial by her trial counsel’s performance. Naturally, Petitioner was convicted of all counts
     8   she was charged.
     9            After Petitioner’s conviction, Czodor demanded $51,000 to remove 25 webpages
    10   that don’t even exist or aren’t viewable. ECF 20, pp. 15-16. Despite each year between
    11   2014 and 2019, Czodor (a self-employed individual) reported to IRS that his net profit1
    12   was ranging only between $5,000 and $10,000 per year (ECF 6. pp. 141, 143, 145, 147,
    13   149, 151), he concealed his net profit information2 when requesting restitution and
    14   demanded $26,4963 to compensate his income loss in 2018 and 2019, apparently for the
    15   purposes to make a windfall. Based on Czodor’s net profit each year, he was in fact as
    16   poor as a church mouse. However, this church mouse was capable of staging crimes and
    17

    18   1
           An employee ordinarily agrees to work for, and receives, a set wage or salary. His wages are not directly affected
         by the net income of the employer. In contrast, the self-employed person operating a "business" has no more income
    19   available than the net income of the "business" after paying necessary expenses of the "business." For instance, a
         person who sold $10,000 worth of merchandise with a wholesale cost of $5,000 and who had out-of-pocket
    20   business-related expenses of $2,000 would only have $3,000 in actual available earnings. If the income loss was
         based on gross revenue of $5,000 rather than net earnings of $3,000, the person would be awarded a windfall of
    21   $2,000 he would not have received if he had worked. Damage awards in injury to business cases are based on net
         profits. (See, e.g., Kuffel v. Seaside Oil Co. (1970) 11 Cal.App.3d 354, 366 [90 Cal.Rptr. 209] ["It is fundamental that
    22   in awarding damages for the loss of profits, net profits, not gross profits, are the proper measure of recovery"].) "Net
         profits are the gains made from sales `after deducting the value of the labor, materials, rents, and all expenses,
    23   together with the interest of the capital employed.' [Citation.]"' [Citations.]" (See Kids' Universe v. In2Labs (2002) 95
         Cal.App.4th 870, 884 [116 Cal.Rptr.2d 158] (Kids' Universe). "Lost anticipated profits cannot be recovered if it is
         uncertain whether any profit would have been derived at all from the proposed undertaking. But lost prospective net
    24
         profits may be recovered if the evidence shows, with reasonable certainty, both their occurrence and extent.
         [Citation.] It is enough to demonstrate a reasonable probability that profits would have been earned except for the
    25   defendant's conduct. [Citations.]' Moreover, . . . a plaintiff is `not required to establish the amount of its damages with
         absolute precision. . . . [Citation.]' [Citations.]" (Kids' Universe, supra, 95 Cal.App.4th at 1181 pp. 883-884.) Not
    26   only Czodor did not establish income loss, he did not establish any certainty of his income.
         2
           Petitioner’s court appointed counsel discovered Czodor’s net profit by subpoenaing California Franchise Tax
    27   Board.
         3
           This requested amount of income loss is almost equal to Czodor’s combined net profit in four years between 2015
    28   and 2018.
                                                                     4
                                    RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1   manipulating the system to grant him a windfall.
     2          III.     GROUNDS FOR APPOINTMENT OF COUNSEL
     3          A. Petitioner Cannot Afford to Retain Private Counsel
     4          Petitioner is financially eligible for court appointed counsel. Luo Decl., ¶3.
     5          B. The Complexity of The Legal Issues Involved Requires Appointment of
     6                 Counsel
     7          Whenever the United States magistrate judge or the court determines that the
     8   interests of justice so require, representation may be provided for any financially eligible
     9   person who is seeking relief under section 2241, 2254, or 2255 of title 28. 18 U.S.C. §
    10   3006A(a)(2)(B). See also Luna v. Kernan, 784 F.3d 640, 642 (9th Cir. 2015) (noting that
    11   given the complexity of the legal issues involved, the interests of justice required
    12   appointment of counsel.) Petitioner incorporates the legal issues from ECF 1 with the
    13   following:
    14          Enforcement of Void and Unconstitutional Court Orders
    15          The Orange County Superior Court had no power, no authority, no jurisdiction to
    16   issue any domestic violence restraining orders against Petitioner.
    17          The Domestic Violence Prevention Act (DVPA) authorizes the issuance of
    18   protective orders restraining domestic violence on several categories of persons, including
    19   present and former spouses or cohabitants and "[a] person with whom the respondent is
    20   having or has had a dating or engagement relationship." (§ 6211, subds. (a), (b) & (c).)
    21   The only protected category of persons listed in section 6211 that could possibly trigger
    22   the applicability of DVPA in the present case is a person in a present or former "dating
    23   relationship." Fam. Code Section 6210 defines "dating relationship" as "frequent, intimate
    24   associations primarily characterized by the expectation of affection or sexual involvement
    25   independent of financial considerations." See Oriola v. Thalerfour 84 Cal.App.4th 397,
    26   404 (Cal. Ct. App. 2000) (holding that four dates was insufficient to meet the definition of
    27   the DVPA.)
    28          When a court lacks jurisdiction in a fundamental sense, an ensuing judgment is
                                                       5
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     1   void, and “thus vulnerable to direct or collateral attack at any time.” People v. Medina,
     2   171 Cal. App. 4th 805, 815, 89 Cal. Rptr. 3d 830, 839 (2009), as modified (Mar. 10, 2009).
     3          When there is a factual issue regarding the lawfulness of the court order, the trial
     4   court must submit the issue to the jury and instruct on the facts that must be proved to
     5   establish that the order was lawfully issued. Due to the incompetence of trial counsel,
     6   Petitioner lost the opportunity to bring a collateral attack on the validity of the orders as
     7   her defense. ECF 4, pp. 118-120.
     8          To establish a valid prior restraint under the federal Constitution, a proponent has a
     9   heavy burden to show the countervailing interest is compelling, the prior restraint is
    10   necessary and would be effective in promoting this interest, and less extreme measures are
    11   unavailable. (See Hobbs v. County of Westchester (2d Cir. 2005) 397 F.3d 133, 149; see
    12   also Nebraska Press Assn. v. Stuart (1976) 427 U.S. 539, 562-568 [49 L.Ed.2d 683, 96
    13   S.Ct. 2791].) Further, any permissible order "must be couched in the narrowest terms that
    14   will accomplish the pinpointed objective permitted by constitutional mandate and the
    15   essential needs of the public order. . . ." Carroll v. Princess Anne (1968) 393 U.S. 175,
    16   183-184 [ 21 L.Ed.2d 325, 89 S.Ct. 347].
    17          Even if an injunction does not impermissibly constitute a prior restraint, the
    18   injunction must be sufficiently precise to provide "a person of ordinary intelligence fair
    19   notice that his contemplated conduct is forbidden." United States v. Harriss (1954) 347
    20   U.S. 612, 617 [98 L.Ed. 989, 74 S.Ct. 808]; see also People ex rel. Gallo v. Acuna (1997)
    21   14 Cal.4th 1090, 1115 [60 Cal.Rptr.2d 277, 929 P.2d 596].) An injunction is
    22   unconstitutionally vague if it does not clearly define the persons protected and the conduct
    23   prohibited.
    24          The defendant may not be convicted for violating an order that is unconstitutional,
    25   and the defendant may bring a collateral attack on the validity of the order as a defense to
    26   the charge. People v. Gonzalez (1996) 12 Cal.4th 804, 816–818 [50 Cal.Rptr.2d 74, 910
    27   P.2d 1366]; In re Berry (1968) 68 Cal.2d 137, 147 [65 Cal.Rptr. 273, 436 P.2d 273]. Due
    28   to the incompetence of trial counsel, Petitioner lost such opportunity based on First and
                                                        6
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     1   Fourteenth Amendments violation.
     2          Devious and Calculated Strategies Employed by Prosecution
     3          On August 15, 2010 Czodor was prosecuted by the same prosecuting agency and
     4   convicted for crimes rested upon false representation – advertising as a general contractor
     5   while he in fact was not, an act involving dishonesty. ECF 6, p. 195. On August 6, 2019
     6   charges were filed against Petitioner. ECF 3, p. 14. Two years after the charges were filed,
     7   the prosecution never announced ready. Due to prosecution’s intentional and substantial
     8   delay, Petitioner’s trial was brought 10 years after Czodor’s prior criminal conviction.
     9   Had Petitioner’s trial was brought by August 14, 2020 Czodor’s prior conviction wouldn’t
    10   have been too old to use against him at Petitioner’s trial. ECF 3, p. 7.
    11          On July 26, 2021, only one day prior to trial, Count 2 was amended from allegation
    12   of coming within 100 yards of the protected person to failure to deactivate website and
    13   created new websites. ECF 3, p. 79. The two allegations were completely different in
    14   nature. Such calculated strategy, amending the complaint only one day prior to trial, was a
    15   devious attempt to deprive Petitioner of her fair opportunity to meaningfully prepare a
    16   defense. See ECF 20 (Petitioner was acquitted of the exact same charge in 2023). No
    17   criminal defendant, both in American history and worldwide, can prepare any defense in
    18   only one day. See Powell v. Alabama, 287 U.S. 45, 53 S.Ct. 55, 77 L.Ed. 158 (1932)
    19   (holding that appointment of counsel one day before trial deprived defendants of Sixth
    20   Amendment rights to counsel because counsel could not possibly have been prepared
    21   for trial.)
    22          Petitioner Was Convicted for Conduct That She Was Not Charged
    23          The trial court gave a jury instruction unrelated to what Petitioner was charged for.
    24   ECF 3, p. 159. The instruction was fundamentally incorrect because it referred to a written
    25   order that the defendant not contact, send any messages to, follow, or disturb the peace of
    26   the protected person, Tomas Czodor, not the websites that Petitioner was charged for. At
    27   trial, there was no evidence showing that Petitioner ever contacted, sent any messages to,
    28   followed, or disturbed the peace of the protected person, Tomas Czodor in violation of
                                                       7
                              RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1   any court order.
     2          Petitioner received ineffective assistance of counsel both at trial and on appeal.
     3   Petitioner’s trial counsel failed to object to the incorrect jury instruction and Petitioner’s
     4   appellate counsel failed to raise the issue on appeal.
     5          IV.    CONCLUSION
     6          In a gross manner, Petitioner’s constitutional rights were violated from the very
     7   beginning to the end. Petitioner was be put on trial without the aid of counsel in any real
     8   sense, and convicted upon incompetent evidence, or evidence irrelevant to the issue or
     9   otherwise inadmissible. For the reasons stated above, this case involves various and
    10   complex constitutional issues. The interests of justice require this court to appoint
    11   competent counsel for Petitioner.
    12

    13          I declare under penalty of perjury under the laws of the State of California and
    14   United States of America that the foregoing is true and correct.

    15

    16          Dated: April 13, 2023

    17          Respectfully submitted.

    18

    19                                                              /s/ XINGFEI LUO

    20                                                              XINGFEI LUO

    21                                                              Petitioner in Pro Se

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                              RENEWED MOTION FOR COURT APPOINTED COUNSEL
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     1                             DECLARATION OF XINGFEI LUO
     2          I, XINGFEI LUO, declare and state:
     3
           1. I am the petitioner in this petition. I have personal knowledge of all facts stated
     4
         herein. If called as a witness, I could and would competently testify thereto.
     5
           2. On September 28, 2018, Czodor filed a request for DVRO under the penalty of
     6
         perjury. A true and correct copy of the excerpt is attached hereto as Exhibit 1.
     7

     8     3. I am financially eligible for court appointed counsel. A true and correct copy of my

     9   financial affidavit is attached hereto as Exhibit 2.
    10
                I declare under penalty of perjury under the laws of the State of California and
    11
         United States of America that the foregoing is true and correct.
    12

    13          Executed in Rosemead, CA on April 13, 2023.
    14
                                                                         /s/ XINGFEI LUO
    15

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                              RENEWED MOTION FOR COURT APPOINTED COUNSEL
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  1                                CERTIFICATE OF SERVICE
  2          I declare that I electronically filed the foregoing with the United States District
  3   Court, Central District of California. Participants in the case who are registered CM/ECF

  4   users will be served by the CM/ECF system.

  5          I declare under penalty of perjury under the laws of the State of California and

  6
      United States of America that the foregoing is true and correct.
             Executed on April 13, 2023
  7
                                                         /s/ XINGFEI LUO
  8
                                                         XINGFEI LUO, In Pro Per
  9

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                           RENEWED MOTION FOR COURT APPOINTED COUNSEL
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                               EXHIBIT 1
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                               EXHIBIT 2
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                                         #:1429
 XINGFEI LUO
 PO BOX 4886,
 El Monte, CA 91734




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER
XINGFEI LUO
                                                                                  8:22-CV-01640-MEMF-KES
                                     PLAINTIFF/PETITIONER,
                                v.
                                                                                REQUEST TO PROCEED
THE PEOPLE OF THE STATE OF CALIFORNIA                                         IN FORMA PAUPERIS WITH
                                                                              DECLARATION IN SUPPORT
                                             DEFENDANT(S).



I, XINGFEI LUO                                               , declare under penalty of perjury, that the foregoing is true and
correct; that I am the petitioner/plaintiff in the above entitled case; that in support of my motion to proceed without being
required to prepay fees, costs or give security therefore, I state that because of my poverty I am unable to pay the costs of
said proceedings or to give security therefore and that I am entitled to redress.

I further declare under penalty of perjury that the responses which I have made to the questions and instructions below are
true, correct and complete.

                               ✔
1. Are you presently employed? *Yes          *No
    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
         employer. $900 Self-employed


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
         you received.
2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form of self-employment?             ✔
                                                                    *Yes     *No
    b. Rent payments, interest or dividends?                        *Yes     ✔
                                                                             *No
    c. Pensions, annuities or life insurance payments?              *Yes     ✔
                                                                             *No
    d. Gifts or inheritances?                                       *Yes     ✔
                                                                             *No
    e. Any other income (other than listed above)?                  *Yes     ✔
                                                                             *No
    f. Loans?                                                       *Yes     ✔
                                                                             *No
    If the answer to any of the above is yes, describe such source of money and state the amount received from each
    source during the past twelve (12) months: $7,000




                          REQUEST TO PROCEED IN FORMA PAUPERIS WITH DECLARATION IN SUPPORT
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3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
                             ✔
   accounts, if applicable.) *Yes  *No

    If the answer is yes, identify each account and separately state the amount of money held in each account for each of
    the six (6) months prior to the date of this declaration.
     Cash $53

4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
                                         ✔
   household furnishings and clothing)? *Yes      *No

    If the answer is yes, describe the property and state its approximate value: Toyota Camry $1,000



5. In what year did you last file an Income Tax return? 2021
    Approximately how much income did your last tax return reflect? 13,000

6. List the persons who are dependent upon your for support, state your relationship to those persons, and indicate how
    much you contribute toward their support:
     n/a




I understand that a false statement or answer to any question in this declaration will subject me to penalties for perjury. I
further understand that perjury is punishable by a term of imprisonment of up to five (5) years and/or a fine of $250,000
(18 U.S.C. Sections 1621, 3571).

                            California                                        Los Angeles County
                              State                                           County (or City)


I, XINGFEI LUO                                                              , declare under penalty of perjury that the
foregoing is true and correct.




                                                            V;LQJIHL/XR

                    Date                                                    Plaintiff/Petitioner (Signature)




                                REQUEST TO PROCEED IN FORMA PAUPERIS WITH DECLARATION IN SUPPORT
CV-60 (04/06)                                                                                                         Page 2 of 2
